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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


United States of America,                             Crim. No. 10-195 (JNE/JJK)

                   Plaintiff,

v.

(3) Brenda L. Epperly,                     REPORT AND RECOMMENDATION

                   Defendant.


James E. Lackner, Esq., Assistant United States Attorney, counsel for Plaintiff.

Frederic W. Knaak, Esq., Knaak & Kantrud, counsel for Defendant Epperly.


JEFFREY J. KEYES, United States Magistrate Judge

      This matter is before the Court on Defendant Brenda Epperly’s Motion to

Suppress Evidence (Doc. No. 48). This Court held a hearing on the motion on

September 21, 2010,1 and received testimony from the following witnesses:

Department of Commerce investigator Julie Kosmalski and former Department of

Commerce investigator Darci Bachmeier-Juniper for the Government, and

Defendant Brenda Epperly for the defense. This Court also received two exhibits

from the Government, which included the August 19, 2008 Subpoena Duces

Tecum at issue, and a copy of the Tennessen warning allegedly provided to

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     On September 22, 2010, this Court issued an Order, amended on
September 23, 2010, concerning various other motions and took Defendant
Epperly’s Motion to Suppress Evidence (Doc. No. 48), under advisement on
October 12, 2010, for submission to the District Court on a Report and
Recommendation. (Doc. No. 69.)
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Defendant Epperly. The matter was referred to the undersigned for a Report and

Recommendation pursuant to 28 U.S.C. § 636 and D. Minn. Loc. R. 72.1. For

the reasons stated below, this Court recommends that Defendant Epperly’s

motion be denied.

                                   BACKGROUND2

      The Department of Commerce regulates real-estate brokers and closers

pursuant to Chapter 82, and generally, pursuant to Chapter 45. (Tr. 16.) The

Department of Commerce’s regulations allow investigators to review books and

records of real-estate brokers and real-estate closers, which sometimes involves

going on site to examine and obtain records. (Tr. 15-16.) Pursuant to Minnesota

law, real-estate brokers and real-estate closers are required to keep records for a

period of three years. (Tr. 16.)

      On August 19, 2008, Ms. Kosmalski and Ms. Bachmeier-Juniper visited

Pro Closers, a business run by Defendant Epperly. At that time, the Department

of Commerce regulated Defendant Epperly under Chapter 82 based on her

status as a licensed real-estate broker, and pursuant to regulations, was allowed


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       The following summary is based on Julie Kosmalski, Darci Bachmeier-
Juniper, and Defendant Brenda Epperly’s testimony provided at the
September 21, 2010 hearing and the hearing exhibits. Ms. Kosmalski works in
the Market Assurance Division (aka the Enforcement Division) for the Minnesota
Department of Commerce conducting real-estate and mortgage investigations,
and has worked there for twenty years. (Doc. No. 76, 9/22/10 Am. Hearing
Transcript (“Tr.”) 15.) Darci Bachmeier-Juniper currently works for U.S. Bank
reviewing appraisals for direct lending. (Tr. 42-43.) In August 2008, she worked
for the Department of Commence, and at that time, had worked there for one
year as a senior investigator. (Tr. 43.)

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to review her records. (Tr. 16-17, 43.) The nature of the investigation was to

look for evidence of “builder bailout,” which was explained by Ms. Kosmalski as

“when a builder has an excess inventory of properties that they’re trying to

unload and [they] will get creative with how they unload those properties.”

(Tr. 18.) The creative unloading involves mortgage fraud. (Tr. 18-19.) During

the Department’s administrative investigation, Defendant Epperly was identified

as someone who was potentially involved in fraud. (Tr. 19-20.) Some of the

records to be reviewed at Pro Closers were purchase agreements, listing

agreements, settlement statements, mortgage loan applications, disbursement

sheets, and ledger balance sheets (i.e., closing files). (Tr. 17, 43.)

      On August 19, 2008, Ms. Kosmalski and Ms. Bachmeier-Juniper —who

also worked with appraisers, real-estate agents, and in the mortgage area—

arrived at Pro Closers midmorning. (Tr. 21.) Upon arrival, they explained to the

receptionist who they were, and that they would like to speak to Defendant

Epperly. (Tr. 21-22.) The receptionist informed Defendant Epperly, and she

came to meet the two investigators. (Tr. 22.) Ms. Kosmalski and

Ms. Bachmeier-Juniper identified themselves to Defendant Epperly as

investigators from the Department of Commerce. (Tr. 22.) Both Ms. Kosmalski

and Ms. Bachmeier-Juniper testified that Ms. Bachmeier-Juniper handed

Defendant Epperly a copy of a subpoena and a copy of a Tennessen warning.




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(Tr. 23, 44; Hr’g Exhs. 1, 2.)3 Defendant Epperly testified, however, that she has

never seen the Tennessen-warning document before. (Tr. 49.) Ms. Kosmalski

explained to Defendant Epperly that the documents were a subpoena and the

Tennessen warning, and that she should take some time to read it. (Tr. 27.)

Ms. Kosmalski did not have a discussion with Defendant Epperly about whether

the investigation was civil or criminal in nature, and testified that the subpoena

delivered was administrative and is something that her department issues and

uses routinely. (Tr. 31, 36, 53.) In addition, she explained that she was required

to get authorization from her supervisor to issue such an administrative

subpoena. (Tr. 41.)

      The face of the subpoena states that “[f]ailure to provide evidence as

required by this Subpoena will result in a penalty pursuant to Minn. Stat.

§[]45.027, subd. 3 and 6.” (Hr’g Ex. 1.) Ms. Kosmalski acknowledged that Minn.

Stat. § 45.027 gives her department authority to sanction regulated persons, and

indicates that the Commissioner may take someone’s license away for failure to

comply. (Tr. 37-38.) The copy of the Tennessen warning states the following:

      1.     This data is being collected as part of an investigation into
             your conduct, and the data will be used to determine whether
             you have violated any statutes or rules enforced or
             administered by this Department.

      2.     Under Minnesota Statute section 45.027 you are required to
             cooperate with investigations of the commissioner of
             Commerce. You are advised that you are not required to

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     Ms. Bachmeier-Juniper testified that they “give the subpoena and the
Tennessen together at all times.” (Tr. 45.)

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                incriminate yourself in any possible criminal investigation and
                you may exercise your constitutional right to refuse to answer
                any request for data.

      3.        If you supply the data requested and it shows a violations of
                any of the statutes or rules regulated by the Department of
                Commerce, you may be subject to disciplinary or other action
                by the Department. However, if you refuse to supply the data
                requested (except refused based upon the privilege against
                self-incrimination), the Commissioner of Commerce has the
                authority under Minnesota Statute section 45.027 to take
                disciplinary or other action for failure to cooperate with an
                investigation. If you choose to exercise your constitutional
                right to refuse to answer, the Department will base its decision
                whether to pursue action against you based on the other
                information which is available to the Department.

      4.        You are advised that the data which you supply may be
                released to other persons and/or governmental entities who
                have statutory authority to review the data, investigate specific
                conduct and/or take appropriate legal action.

(Hr’g Ex. 2.)

      Ms. Kosmalski testified that she does not recall having any conversation

about § 45.027 or the authority it provides with Defendant Epperly, nor does she

recall Defendant Epperly expressing concern about the possibility of her losing

her license. (Tr. 38.) More specifically, on re-direct, Ms. Kosmalski testified that

she did not ever advise, nor did anyone else in her presence advise, Defendant

Epperly that if she did not comply and give her the records that she would lose or

could lose her license. (Tr. 55.) This confirms her earlier testimony that she did

not ever discuss with Defendant Epperly what would happen if she did not

comply with the subpoena, and she did not tell her or threaten her that she would

lose her license if she did not comply. (Tr. 31.) Ms. Kosmalski also testified that


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even though the administrative subpoena was issued under the laws of

Minnesota, she does not actually need a subpoena to get the documents.

(Tr. 41-42.) And it was not usually the practice of the Department in a case like

this to obtain a written acknowledgement on the part of the individual that she

has received a Tennessen warning. (Tr. 26.)

      Defendant Epperly testified that she knew in 2008 that, pursuant to

Department of Commerce regulations, she was required to keep records, and

that as a real-estate agent and a broker, she was supposed to give the

documents to the Department of Commerce when they asked for it or they could

take her license away. (Tr. 50, 52.) Defendant Epperly further testified that on

August 19, 2008, she asked the investigators a question regarding possible

penalties for not complying with the subpoena, and asserts that the investigators

answered that depending on what they found, she could lose her license. (Tr. 48

(emphasis added).) Later, Defendant Epperly testified, however, that she had

asked the investigators what would happen if she did not give up the documents,

and the investigators answered that she would lose her license. (Tr. 53

(emphasis added).)

      After Defendant Epperly completed her page-by-page review of the

documents, Ms. Kosmalski and Ms. Bachmeier-Juniper asked her if she had any

questions. (Tr. 30, 44.) According to Ms. Kosmalski, Defendant Epperly stated

that she did not have any questions. (Tr. 30.) Defendant Epperly testified that

after reading the subpoena, it appeared to her that it was something that was


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legal and that she had to comply with. (Tr. 48.) Defendant Epperly then led the

two investigators into her office to show them where the files were maintained,

and Defendant Epperly began to bring documents to them. (Tr. 30.)

      Ms. Kosmalski and Ms. Bachmeier-Juniper were at Pro Closers for

approximately five to six hours reviewing real-estate files. (Tr. 32.) They did take

some of the real-estate documents with them when they left, including records

relating with the property located at XXXX Wildhurst. (Tr. 32-33.)

      Ms. Kosmalski testified that she had not had any contact on or before

August 19, 2008, with anyone from law enforcement concerning this case, and

that she was making the visit to Pro Closers on her own for the Department of

Commerce. (Tr. 20.) According to Ms. Kosmalski, everything she did on August

19, 2008, at Pro Closers was the “normal procedure” for a Department of

Commerce investigation. (Tr. 20.)

      A couple of days after August 19, 2008, Ms. Kosmalsky and

Ms. Bachmeier-Juniper returned to Pro Closers to obtain additional files.

(Tr. 33.) When they arrived, Ms. Kosmalsky observed three to five gentlemen

sitting in a conference room, appearing to be taking part in a closing. (Tr. 33.)

When the men saw the investigators, they ran out the door. (Tr. 33.) Defendant

Epperly then approached the investigators, and the investigators explained that

they were there to obtain additional documents under the authority of the original

subpoena. (Tr. 33, 39.) Defendant Epperly told the investigators that she

wanted to contact her attorney. (Tr. 33.) The investigators told her that was fine,


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and they waited in a common area for approximately an hour for the attorney to

show up. (Tr. 33.) When the attorney arrived, the investigators explained that

they had served a subpoena a couple of days prior and had obtained some

documents, and that they wanted to obtain some additional documents. (Tr. 34.)

The attorney told them that was fine, and that he wanted Defendant Epperly to

comply. (Tr. 34.) The investigators then reviewed more documents. (Tr. 34.)

      In January 2009, Ms. Kosmalsky placed a call to Andy Gibbert with the IRS

to tell him what information the Department of Commerce had regarding

Defendant Epperly; Mr. Gibbert did not confirm at that point, however, that there

was a criminal investigation with respect to her. (Tr. 35.) According to

Ms. Kosmalsky, the first time she learned that there was a criminal investigation

into Defendant Epperly would have been after January 2009. (Tr. 35-36.)

Defendant was subsequently indicted for Mortgage Fraud through use of

Interstate Wires in violation of Title 18, United States Code, Section 1343. (See

Doc. No. 1.)

                                   DISCUSSION

      Defendant Epperly moves to suppress all evidence obtained through the

Minnesota Department of Commerce on the grounds that it used its civil

investigative authority improperly and conveyed to the Government private data

on Defendant Epperly: (1) without appropriate notice; (2) in violation of due

process under the Fifth Amendment because the civil investigation was done in

bad faith (i.e., was a pretext to obtain evidence for criminal prosecution); (3) in


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violation of the Fourth Amendment because the search was unreasonable when

the Government obtained the information through use of affirmative

misrepresentations, trickery, or deceit; and (3) in violation of her constitutional

right to remain silent and the Garrity rule. The Government acknowledges that

one set of documents in this case was obtained by the Minnesota Department of

Commerce from Defendant Epperly through an administrative subpoena.

However, the Government asserts that the Minnesota Department of Commerce

was not acting “in cooperation” with the IRS or any federal agency at the time

that it issued the subpoena, and that, in fact, the federal investigation had not

started at that time. Further, the Government asserts that even had the state

agency and its civil agents known of a federal investigation, there is no evidence

that the Department’s investigators affirmatively misled Defendant Epperly. In

addition, the Government argues that Defendant Epperly was not compelled to

produce any documents in violation of the Fifth Amendment or Garrity. This

Court addresses each argument in turn.

I.    Notice/Due Process/Unreasonable Search

      Defendant bases her first three arguments on her belief that the

Government developed the present criminal case under the auspices of a civil

investigation. But the unrebutted evidence shows that the Department of

Commerce investigators did not know of any criminal investigation in relation to

Defendant Epperly at the time that it conducted its investigation in August 2008,

and the investigators were investigating Defendant Epperly in an


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administrative/civil capacity only when it visited Pro Closers to review real-estate

documents. There is no evidence that the Government was involved in, or even

knew of, the administrative review that the Department of Commerce was

conducting in 2008. And there is no evidence in the record before this Court that

Defendant Epperly was a target of a criminal investigation at that time at all.

Therefore, neither the Government nor the investigators had a duty to inform

Defendant Epperly that she was a target of a criminal investigation at the time

that the administrative investigation was conducted in August 2008.

      In addition, there is no evidence that the Government affirmatively misled

Defendant Epperly into believing that the investigation was exclusively civil in

nature and would not lead to criminal charges. The Tennessen warning stated

the following:

      4.     You are advised that the data which you supply may be
             released to other persons and/or governmental entities who
             have statutory authority to review the data, investigate specific
             conduct and/or take appropriate legal action.

(Hr’g Ex. 2.) Even assuming that the Tennessen warning was not provided to

Defendant Epperly (as explained below, this Court believes that it was provided),

the topic of whether the investigation was civil or criminal in nature never came

up. There were no affirmative representations made in that regard. And the

mere failure to inform Defendant Epperly that information developed in its

investigation may result in a further criminal investigation does not indicate

affirmative and intentional deceit by the Department of Commerce. See United



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States v. Grunewald, 987 F.2d 531, 534 (8th Cir. 1993) (“[T]he mere failure of an

IRS agent to inform a defendant that information developed in an audit may

result in a further criminal investigation does not indicate affirmative and

intentional deceit by the IRS.”). Therefore, Defendant Epperly’s arguments

regarding lack of proper notice, using a civil investigation as a pretext to obtain

evidence for criminal prosecution, and the use of affirmative misrepresentations,

trickery, or deceit fail.4

II.    Right to remain silent

       Defendant Epperly also asserts that she was compelled to produce her

real-estate records because the language on the face of the subpoena stated

that “[f]ailure to provide evidence as required by this Subpoena will result in a

penalty pursuant to Minn. Stat. §45.027, subd. 3 and 8” (Hr’g Ex. 1), and the

investigators’ alleged statements indicated that if she failed to cooperate she

would lose her license. According to Defendant Epperly, the investigators did not

provide her with a Tennessen warning that would have informed her of her rights

against self-incrimination. Defendant Epperly contends that the combination of

the threats of losing her license and not being informed of her right to remain

silent violated her Fifth Amendment rights, and therefore the Government should

not be able to use the coerced information as the basis of the subsequent

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       Defendant Epperly also asserts that she should have been provided notice
of the criminal investigation at the point when the Department of Commerce
ultimately handed the seized materials over to the Government. However,
Defendant Epperly cites no authority on point that would require the Department
of Commerce to provide such notice.

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criminal charges, citing Garrity v. State of New Jersey, 385 U.S. 511 (1967). The

Government disagrees, and asserts that (1) Defendant was not compelled to turn

over the records, and (2) the Fifth Amendment does not apply because of the

public records/required records doctrine.

      To establish a Fifth Amendment violation, Defendant Epperly must prove

that her statements were (1) compelled; (2) testimonial in nature; and

(3) incriminating. See United States v. Hubbell, 530 U.S. 27, 34-35 (2000). “The

Fifth Amendment is violated only by the combined risks of both compelling the

[person] to answer incriminating questions and compelling the [person] to waive

immunity from the use of those answers.” Hill v. Johnson, 160 F.3d 469, 471

(8th Cir. 1998). And for any Garrity-type relief to even be considered, Defendant

Epperly must establish that she had an objectively reasonable belief that she

would lose her license if she chose not to provide the subpoenaed documents.

The key question here is whether the subpoenaed documents were compelled in

violation of the Fifth Amendment. This Court concludes that the answer to that

question is no.

      It is undisputed that Defendant Epperly was regulated by the Department

of Commerce as a real-estate broker and closer, that she was required to keep

real estate records for three years, and that Defendant Epperly knew of her

obligations to keep her real estate records and of the right of the Department of




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Commerce to review those documents.5 It is also undisputed that when the

investigators arrived at Pro Closers on August 19, 2008, they identified

themselves as investigators for the Department of Commerce to Defendant

Epperly, and explained that they were there to review her real-estate documents.

In addition, both investigators testified that a copy of the Tennessen warning was

provided to Defendant Epperly at the same time that the administrative subpoena

was provided to her, and that Defendant Epperly took several minutes to look at

each page of the documents provided. The investigators also asked Defendant

Epperly whether she had any questions, and she said no.

      First, the face of the subpoena itself did not state that if Defendant Epperly

did not comply with the subpoena, then her license would be taken away. The

subpoena stated, “[f]ailure to provide evidence as required by this Subpoena will

result in a penalty pursuant to Minn. Stat. §[]45.027, subd. 3 and 8.” (Hr’g Ex. 1.)

Subdivision 3 of this statute states the following:

      In case of a refusal to appear or a refusal to obey a subpoena
      issued to any person, the district court, upon application by the
      commissioner, may issue to any person an order directing that
      person to appear before the commissioner, or the officer designated
      by the commissioner, there to produce documentary evidence if so
      ordered or to give evidence relating to the matter under investigation
      or in question. Failure to obey the order of the court may be
      punished by the court as a contempt of court.



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         Minn. Stat. § 82.45 provides that “the Commission may make examination
. . . of each broker’s or closing agent’s records at such reasonable time and in
such scope as is necessary to enforce the provisions of this chapter.” Minn. Stat.
§ 82.45, subd. 2.

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Minn. Stat. § 45.027, subd. 3 (emphasis added). Therefore, this subdivision

describes that the person who does not comply with the subpoena could be

ordered by a district court to appear before the commissioner to produce

documentary evidence or to give evidence relating to the matter, and could be

punished by the court if they failed to comply. This subdivision does not mandate

that either occur and it does not require revocation of a license. Subdivision 8

states:

      In addition to any other actions authorized by this section, the
      commissioner may issue a stop order denying effectiveness to or
      suspending or revoking any registration.

Minn. Stat. § 45.027, subd. 3 (emphasis added). This subdivision also does not

mandate revocation of a license, but provides the commissioner options in the

punishment it decides to issue. Therefore, by stating on the face of the

subpoena that “[f]ailure to provide evidence as required by this Subpoena will

result in a penalty pursuant to Minn. Stat. §[]45.027, subd. 3 and 8” (Hr’g Ex. 1

(emphasis added)), that “penalty” is not necessarily revocation of a license. The

statute is worded broadly so that various penalties could be imposed, either by a

court or by the commissioner.

      Second, although Defendant Epperly disputes that she was provided a

copy of the Tennessen warning, based on the consistency of their testimony,

their demeanor, and their lack of bias in the matter, as well as Ms. Kosmalski’s

memory of other details from their visit to Pro Closers on August 19, 2008, the

Court finds the investigators’ testimony that she was given the warning more


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credible. The Tennessen warning stated that, “Under Minnesota Statute section

45.027 [which is the same statute referenced on the face of the subpoena] you

are required to cooperate with investigations of the commissioner of Commerce.”

(Hr’g Ex. 2.) However, the Tennessen warning stated immediately thereafter

that, “You are advised that you are not required to incriminate yourself in any

possible criminal investigation and you may exercise your constitutional right to

refuse to answer any request for data.” (Id. (emphasis added).) The Tennessen

warning further explained that if she chose to supply the data requested and it

showed a statutory or rule violation, she “may be subject to disciplinary or other

action by the Department.” (Id. (emphasis added).) The warning also explained

that if she chose to refuse to supply the data based on her exercising her

constitutional right to refuse to answer, then the Department would base its

decision on whether to pursue any action against her based on the other

information available to the Department. (Id.) It was only if she refused to supply

the data requested, outside of asserting any constitutional right to refuse to

answer, that the Commissioner of Commerce would have the authority under

Minnesota Statute section 45.027 to take disciplinary or other action for failure on

her part to cooperate with the investigation. (Id.) Therefore, the Tennessen

warning was clear that Defendant Epperly was not being compelled to

incriminate herself.

      Further, although Defendant Epperly testified that the investigators told her

that she would lose her license if she did not produce the documents,


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Ms. Kosmalski testified that neither she nor Ms. Bachmeier-Juniper advised or

threatened Defendant Epperly that if she did not produce the records that she

would or could lose her license. Nor did they even discuss what would happen if

Defendant Epperly did not produce the documents requested. Again, for the

reasons stated above, the Court finds the investigators’ testimony more credible.6

In addition, upon their second visit, Defendant Epperly requested and was

provided the opportunity to consult an attorney, who advised her to produce the

documents requested. All of the above evidence supports the conclusion that

Defendant Epperly was not compelled to comply with the administrative

subpoena and her Fifth Amendment right against self-incrimination was not

violated. See Hill, 160 F.3d at 471 (concluding that there was no Fifth

Amendment violation when the defendant “was neither forced to answer

incriminating questions under threat of termination nor required to relinquish

immunity for the use of his answers in criminal proceedings”). And further,

because any threat of job loss was inferred and was not automatic or certain, any

Garrity rights were not implicated. See United States v. Stein, 233 F.3d 6, 16

(1st Cir. 2000) (stating that it was not enough that a risk of job loss arises from

refusing to waive Fifth Amendment rights; the loss must be automatic or certain);

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       Further, if Defendant Epperly feared that if she did not comply with the
administrative subpoena she would lose her license, which this Court does not
doubt may have been a genuine fear, such subjective fears are not sufficient to
establish compulsion to support a Fifth Amendment violation. See United States
v. Cranley, 350 F.3d 617, 622 (7th Cir. 2003) (stating that “fear of revocation is
not a ground for ruling that a probationer’s confession deprived him of his Fifth
Amendment privilege”).

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United States v. Bowers, 739 F.2d 1050, 1056 (6th Cir. 1984) (finding no Garrity

violation when the employee was not told he would be disciplined if he refused to

answer questions). Here, Defendant Epperly was not told she would lose her job

if she did not comply with the administrative subpoena, and the Tennessen

warning stated that if she chose to refuse to supply the data based on her

exercising her constitutional right to refuse to answer, then the Department would

base its decision on whether to pursue any action against her based on the other

information available to the Department. Action by the Department was not

certain at this point, and if action was sought, revocation of licensure was not

necessarily the action that would be pursued.

      And further, if Defendant Epperly chose not to assert her right against self-

incrimination, but yet still refused to supply the data requested, the Tennessen

warning explained that the Commissioner of Commerce would have the authority

under Minnesota Statute section 45.027 to take disciplinary or other action for

failure on her part to cooperate with the investigation. Again, even though the

Commissioner of Commerce would have the authority to revoke her license, it

was not certain that it would do so. Therefore, Defendant Epperly was not

compelled to produce the documents in violation of the Fifth Amendment, and

she did not have an objectively reasonable belief that she would lose her license

if she chose not to provide the subpoenaed documents, therefore invoking the




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Garrity rule. Accordingly, this Court recommends that Defendant Epperly’s

motion to suppress should be denied.7

                               RECOMMENDATION

      IT IS HEREBY RECOMMENDED that:

      1.     Defendant Brenda Epperly’s Motion to Suppress Evidence (Doc.

No. 48), be DENIED.


Date: October 19, 2010
                                                 s/ Jeffrey J. Keyes
                                                JEFFREY J. KEYES
                                                United States Magistrate Judge



Under D. Minn. LR 72.2(b), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and serving all parties by
November 2, 2010, a writing which specifically identifies those portions of this
Report to which objections are made and the basis of those objections. Failure
to comply with this procedure may operate as a forfeiture of the objecting party’s
right to seek review in the Court of Appeals. A party may respond to the
objecting party’s brief within fourteen days after service thereof. All briefs filed
under this rule shall be limited to 3500 words. A judge shall make a de novo
determination of those portions of the Report to which objection is made. This
Report and Recommendation does not constitute an order or judgment of the
District Court, and it is therefore not appealable directly to the Circuit Court of
Appeals.


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       Because this Court concludes that the documents were not compelled in
violation of the Fifth Amendment, and the Garrity rule does not apply, this Court
need not address the Government’s additional argument regarding the required-
records exception to the Fifth Amendment. However, this Court notes that the
Supreme Court has recognized that the required-records doctrine is an exception
to the assertion of the Fifth Amendment privilege against compelled testimonial
self-incrimination, see, e.g., Davis v. United States, 328 U.S. 582, 593 (1946),
and in all likelihood, the documents at issue here would qualify as required
records.

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